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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 11-61947-CIV-COHN/SELTZER

 CHARLOTTE E. NICHOLAS,

              Plaintiff,
       v.

 H & R ACCOUNTS, INC. d/b/a
 PREFERRED MEDICAL DEPOSIT,

            Defendant.
 _____________________________/

                                    FINAL JUDGMENT

       THIS CAUSE is before the Court on the Order Granting Plaintiff’s Motion for

 Judgment [DE 22]. It is thereupon ORDERED AND ADJUDGED as follows:

 1.    Final Judgment is entered in favor of the Plaintiff, Charlotte E. Nicholas, and

       against Defendant H&R Accounts, Inc. d/b/a Preferred Medical Deposit;

 2.    Plaintiff shall recover from Defendant $1,001.00, plus interest thereon at the rate

       of 0.11% per annum, for which let execution issue;

 3.    The Court reserves jurisdiction on the matter of Plaintiff’s reasonable attorney

       fees and costs; and

 4.    The Clerk shall CLOSE this case and DENY all pending motions as MOOT.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 19th day of January, 2012.




 Copies provided to counsel of record via CM/ECF.
